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EXHIBIT A
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ISMAIL RAMSEY (CABN 189820) Julianna Rivera Maul (SBN 290955)
United States Attorney The Law Office of Julianna Rivera
MICHELLE LO (NYRN 4325163) 420 3rd St., Ste 200
Chief, Civil Division Oakland, CA 94067
KENNETH W. BRAKEBILL (CABN 196696) Tel: 510-473-2141
Assistant United States Attorney
KELSEY J. HELLAND (CABN 298888) Matt Adams*
Assistant United States Attorney Aaron Korthuis*
450 Golden Gate Avenue, Box 36055 Glenda Aldan Madrid*
San Francisco, California 94102-3495 LeilaKang* . .
Telephone: (415) 436-7167 Northwest Immigrant Rights Project
Facsimile: (415) 436-7169 615 2nd Ave, Ste 400
Kenneth.Brakebill@usdoj.gov Seattle, WA 98104
Tel: 206-957-8611
Attorneys for the United States of America
*Admitted pro hac vice
UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
OAKLAND DIVISION
J.R.G., et al., ) CASE NO. 4:22-cv-05183-KAW
)
Plaintiffs, )
) STIPULATION FOR COMPROMISE
v. ) SETTLEMENT AND RELEASE OF
) FEDERAL TORT CLAIMS ACT CLAIMS
UNITED STATES OF AMERICA, ) PURSUANT TO 28 USS.C. § 2677
)
Defendant. )
It is hereby stipulated and agreed by and between the undersigned Plaintiffs (meaning ma
aa Rc Mn a a minor child) and any person, other than the

Defendant and the Parties’ attorneys, signing this agreement waiving and releasing claims, whether or
not a party to this civil action), and the Defendant, United States of America, including its agents,
servants, and employees (hereinafter “United States”), collectively, “the Parties,” by and through their
respective attorneys, as follows:

1, The parties to this Stipulation for Compromise Settlement and Release (hereinafter
“Stipulation”) do hereby agree to settle and compromise each and every claim of any kind, whether
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known or unknown, including claims for wrongful death, arising directly or indirectly from the acts or
omissions that gave rise to the above-captioned action under the terms and conditions set forth in this
Stipulation. This release does not apply to or affect in any way any claims for immigration relief, which
Plaintiffs have or may advance against the United States or any non-monetary relief to which Plaintiffs
may be or become entitled by virtue of any class action lawsuit.

2. This Stipulation is not, is in no way intended to be, and should not be construed as, an
admission of liability or fault on the part of the United States, its agents, servants, or employees, and it is
specifically denied that they are liable to Plaintiffs. This Stipulation is entered into by all parties for the
purpose of compromising disputed claims under the Federal Tort Claims Act and avoiding the expenses
and risks of further litigation.

3. In consideration for Plaintiffs’ agreement to accept the terms and conditions of this
settlement, the United States agrees to pay Plaintiffs the amount of Three-Hundred Thousand Dollars
($300,000.00) (hereinafter “Settlement Amount”) as follows:

a. Within five (5) business days after counsel for the United States receives (1) this Stipulation
signed by all parties to said document; (2) Order(s) approving the settlement and authorizing an
individual or entity to sign on behalf of any minor or legally incapacitated adult; (3) the Social Security
numbers or tax identification numbers of Plaintiffs and Plaintiffs’ attorneys; (4) Plaintiffs’ attorney’s
bank account number, bank routing information, and all information required for an electronic funds
transfer (“EFT”) of the Settlement Amount; and (5) an authorization by the Attorney General or his
designee to conclude negotiations and to consummate the settlement, counsel for the United States will
submit a request to the United States Treasury, requesting an EFT for the Settlement Amount, made
payable to the “ IOLTA Account.” Plaintiffs’

attorneys agree to distribute the Settlement Amount to Plaintiffs, in accordance with the terms and
conditions of this Stipulation.

b. With respect to the payment of the Settlement Amount, Plaintiffs stipulate and agree that
the United States will not sign an annuity application form, a uniform qualified settlement form, or any
equivalent such forms, and that the United States will not pay the Settlement Amount into a qualified
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settlement fund or an equivalent fund or account, settlement preservation trust, or special or
supplemental needs trust. Plaintiffs further stipulate and agree that Plaintiffs, Plaintiffs’ attorney(s), any
Guardian Ad Litem, and Plaintiffs’ representatives (including any structured settlement annuity broker,
regardless of whether said broker was retained by them or by someone else, either before, during, or
after the settlement) will not attempt to structure the Settlement Amount in any way, form, or manner,
including by placing any of the Settlement Amount into any qualified settlement fund or its equivalent.
However, nothing in this Paragraph 3.b. precludes Plaintiffs from purchasing non-qualified annuities
after Plaintiffs have received the Settlement Amount, but Plaintiffs agree not to represent to any person,
entity, or agency that Plaintiffs are purchasing qualified structured settlement annuities, and Plaintiffs
agree not to attempt to purchase such structured settlement annuities.

Cc. Plaintiffs stipulate and agree that Plaintiffs’ attorneys shall escrow the aggregate face
value of any and all currently known liens and currently known claims for payment or reimbursement,
including any such liens or claims by Medicaid or Medicare, arising directly or indirectly from the acts
or omissions that gave rise to the above-captioned action, whether disputed as legally valid or not, and
shall not distribute to Plaintiffs any portion of the escrowed amount unless and until said liens and
claims have been paid or resolved.

d. The parties agree that any attorneys’ fees owed by Plaintiffs relating to this Federal Tort
Claims Act matter shall not exceed twenty-five percent (25%) of the Settlement Amount. 28 U.S.C. §
2678. The parties further agree that any such attorneys’ fees, along with Plaintiffs’ costs and expenses
incurred in bringing the above-captioned action, and their costs, expenses, and fees (including all fees of
any legal Guardian Ad Litem) associated with obtaining court approval of this settlement on behalf of
any minor, incompetent adult, or estate required to sign this Stipulation, shall be paid out of the
Settlement Amount, and not in addition thereto. The parties agree that any fees, including fees of any
legal Guardian Ad Litem, incurred in providing legal services in this matter and in any court
proceedings reviewing the settlement for approval purposes shall be considered attorneys’ fees and not
costs, and shall be subject to the provisions of 28 U.S.C. § 2678.

4. Plaintiffs and Plaintiffs’ guardians, Guardian Ad Litem (if any), heirs, executors,

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administrators, and assigns hereby accept the settlement and the payment of the Settlement Amount in
full settlement, satisfaction, and release of any and all claims, demands, rights, and causes of action of
any kind, whether known or unknown, including any future claims for survival or wrongful death, and
any claims for fees, interest, costs, and expenses, arising from, and by reason of, any and all known and
unknown, foreseen and unforeseen, bodily and personal injuries, including the death of either iz
a a am” or Mae Am i or damage to property, and the consequences
thereof, which Plaintiffs or their heirs, executors, administrators, or assigns have had, now have, or
hereafter may have against the United States on account of the acts or omissions that gave rise to the
above-captioned action.

Plaintiffs, on behalf of themselves, their respective heirs, executors, administrators, assigns,
predecessors and successors in interest, do hereby, for good and valuable consideration, the receipt of
which is hereby acknowledged, release and forever discharge the United States, and its respective
officials, agencies, representatives, officers, employees, agents, assigns and attorneys, from any and all
claims, demands, rights, causes of actions, liens, and all other liabilities whatsoever, whether known or
unknown, suspected or unsuspected, that Plaintiffs have had, now have, or hereafter may have on
account of the acts or omissions that gave rise to the above-captioned action, as well as claims relating
to or arising out of the acts or omissions that gave rise to the above-captioned action that could have
been but were not alleged in this action.

Plaintiffs and Plaintiffs’ guardians, heirs, executors, administrators, and assigns further agree to
reimburse, indemnify, and hold harmless the United States from and against any and all claims, causes
of action, liens, rights, or subrogated or contribution interests (whether such claims, causes of action,
liens, rights, subrogated interests, or contribution interests sound in tort, contract, or statute) incident to,
or resulting or arising from, the acts or omissions that gave rise to the above-captioned action, including
claims or causes of action for wrongful death.

Plaintiffs and Plaintiffs’ guardians, heirs, executors, administrators, and assigns further stipulate
and agree that they are legally responsible for any and all past, present, and future liens and past,
present, and future claims for payment or reimbursement, including any past, present, and future liens or
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claims for payment or reimbursement by any individual or entity, including an insurance company,
Medicaid (including the State of California) from the acts or omissions that gave rise to the above-
captioned action. Plaintiffs stipulate and agree that they will satisfy or resolve any and all such past,
present, and future liens or claims for payment or reimbursement asserted by any such individual or
entity. Plaintiffs agree that, no later than thirty (30) days from the date any past, present, or future lien
or claim for payment or reimbursement is paid or resolved by Plaintiffs, they will provide to the United
States evidence that said lien or claim has been satisfied or resolved and that said lienholder has waived
and released such lien or claim. The evidence required by the terms of this Paragraph may be satisfied
by a letter from Plaintiffs’ attorneys representing to counsel for the United States that such lien or claim
has been satisfied or resolved and that the lienholder has waived and released such lien and claim.

5. This compromise settlement is specifically subject to each of the following conditions:

a. The Attorney General or the Attorney General’s designee must approve the terms
and conditions of the settlement and authorize the attorney representing the United States to
consummate a settlement for the amount and upon the terms and conditions agreed upon by the Parties,
as set forth in this Stipulation.

b. The parties must agree in writing to the terms, conditions, and requirements of
this Stipulation. The parties stipulate and agree that the Stipulation and the compromise settlement are
null and void in the event the parties cannot agree on the terms, conditions, and requirements of this
Stipulation. The terms, conditions, and requirements of this Stipulation are not severable and the failure
to agree, fulfill, or comply with any term, condition, or requirement renders the entire Stipulation and
the compromise settlement null and void. The parties must agree to the terms, conditions, and
requirements of this Stipulation before the United States Attorney’s Office will seek settlement authority
from the Attorney General or the Attorney General’s designee.

c. Plaintiffs must obtain, at their expense, approval of the settlement by a court of
competent jurisdiction on behalf of vai im The Order approving the settlement on
behalf of vie Am ia may be obtained from either the United States District Court for the
Northern District of California or a state court of competent jurisdiction. The terms of any court Order,
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a draft of which shall be provided by the United States, are a condition of this settlement. Plaintiffs
agree to obtain such approval(s) in a timely manner: time being of the essence. Plaintiffs further agree
that the United States may void this settlement at its option in the event any such approval is not
obtained in a timely manner. In the event Plaintiffs fail to obtain such court approval(s), the entire
Stipulation and the compromise settlement are null and void. Plaintiffs must obtain such court Order
before the United States Attorney’s Office will seek settlement authority from the Attorney General or
the Attorney General’s designee.

d. Plaintiffs must obtain a release and waiver of any claim or cause of action
(whether sounding in tort, contract, statute, or otherwise) that any alleged tortfeasor, if any, has or may
have in the future against the United States arising out of the acts or omissions that gave rise to the
above-captioned action. This condition is for the benefit of the United States exclusively. The United
States will provide the form of Release and Waiver, or any changes to the form required by the United
States, to be used by Plaintiffs in obtaining a Release and Waiver from any alleged tortfeasor. Before the
United States Attorney’s Office will seek settlement authority from the Attorney General or the Attorney
General’s designee, Plaintiffs must provide the United States with either (i) all such releases and waivers
required by this Paragraph 5.d., or (ii) a written representation by Plaintiffs’ attorneys stating that, after a
diligent search of counsel’s law firms’ records and files, including expert and consultant reports, and of
Plaintiffs’ records and files, Plaintiffs and their attorneys are unaware of any such potential tortfeasor.

e. Plaintiffs must obtain an order from the United States District Court for the
Northern District of California dismissing this action in its entirety with prejudice, with each side
bearing its own costs, expenses, and fees, and with the District Court not retaining jurisdiction over the
above captioned action, this settlement, or the United States.

6. The Parties agree that this Stipulation, including all the terms and conditions of this
compromise settlement and any additional agreements relating thereto, may be made public in their
entirety, and Plaintiffs expressly consent to such release and disclosure pursuant to 5 U.S.C. § 552a(b).

7. Plaintiffs shall be solely responsible for full compliance with all applicable Federal, state,
and local tax requirements. Plaintiffs execute this Stipulation without reliance upon any representation
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by the United States as to tax consequences, and Plaintiffs agree that they are responsible for the
payment of all taxes that may be associated with this settlement. Further, nothing in this Stipulation
waives or modifies Federal, state, or local laws pertaining to taxes, offsets, levies, and liens that may
apply to this Stipulation or the Settlement Amount proceeds. Plaintiffs execute this Stipulation without
reliance on any representation by the United States as to the application of any such law. Plaintiffs, on
behalf of themselves and their guardians, heirs, executors, administrators, assigns, subrogees,
predecessors in interest, and successors in interest, understand and agree that this transaction may be
reported to the Internal Revenue Service and other government agencies in the ordinary course of the
business of the United States and may be subject to offset pursuant to the Treasury Offset Program.

8. Plaintiffs represent that they have read, reviewed and understand this Stipulation, and that
they are fully authorized to enter into the terms and conditions of this agreement and that they agree to
be bound thereby. Plaintiffs further acknowledge that they enter into this Stipulation freely and
voluntarily. Plaintiffs further acknowledge that they have had sufficient opportunity to discuss this
Stipulation with their attorneys, who have explained the documents to Plaintiffs, and that Plaintiffs
understand all of the terms and conditions of this Stipulation.

9. It is contemplated that this Stipulation may be executed in several counterparts, with a
separate signature page for each party. All such counterparts and signature pages, together, shall be
deemed to be one document.

WHEREAS, the Parties accept the terms of this Stipulation for Compromise Settlement and

Release as of the dates written below:

Executed this___ day of

2024.

ISMAIL J. RAMSEY
United States Attorney

KENNETH W. BRAKEBILL
Assistant United States Attorney

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Executed this___day of. 2024.

2024.

Executed this___ day of.

KELSEY J. HELLAND
Assistant United States Attorney

Counsel for the United States of America

LAW OFFICE OF JULIANNA RIVERA

By:

Julianna Rivera Maul
NORTHWEST IMMIGRANT RIGHTS PROJECT
By:

Matt Adams
Aaron Korthuis

Counsel for Plaintiffs

By:

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